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ATTACHMENT 1
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Voicemail Recording
November 22, 2017

[Recording Begins]

Hey, Rob, uhm, this is John again. Uh, maybe, I-I-I’m-I’m sympathetic; 1 understand your
situation, but let me see if I can’t...state it in.,.starker terms. If you have...and it wouldn’t
surprise me if you’ve gone on to make a deal with, and, uh, work with the government, uh... 1
understand that you can’t join the joint defense; so that’s one thing. If, on the other hand, we
have, there’s information that...implicates the President, then we’ve got a national security issue,
or maybe a national security issue, 1 don’t know...some issue, we got to-we got to deal with, not
only for the President, but for the country. So...uh...you know, then-then, you know, we need
some kind of heads up. Um, just for the sake of...protecting all our interests, if we can, without
you having to give up any...confidential information. So, uhm, and if it’s the former, then, you
know, remember what we’ve always said about the President and his feelings toward Flynn and,
that still remains, but-——Well, in any event, uhm, let me know, and, uh, | appreciate your listening
and taking the time, Thanks, Pal.

[Recording Ends}
